     Case: 1:19-cv-02608 Document #: 23 Filed: 07/03/19 Page 1 of 1 PageID #:108

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

FYF−JB, LLC
                             Plaintiff,
v.                                                 Case No.: 1:19−cv−02608
                                                   Honorable Thomas M. Durkin
Pet Factory, Inc.
                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 3, 2019:


         MINUTE entry before the Honorable Thomas M. Durkin:By agreement of the
parties, defendant's motion to dismiss is to be filed by 7/2/2019. Plaintiff is to serve
defendant with Rule 11 letter and draft motion for sanctions by 7/23/2019. Plaintiff is to
file a response to defendant's motion to dismiss by 8/13/2019. Defendant's reply in support
of the motion to dismiss is to be filed by 8/27/2019. Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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